Case 1:17-cv-09792-ALC-BCM Document 69 Filed 03/16/18 Page 1of5
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

 

IGT,
Plaintiff,
17-CV-9792 (ALC)

~against-
OPINION AND ORDER

HIGH 5 GAMES, LLC

Defendant.

 

 

ANDREW L. CARTER, JR., United States District Judge:

Before this Court is Plaintiff's motion for a preliminary injunction enjoining Defendant
from infringing on Section 9(f) of the parties’ 2016 Settlement Agreement (“Settlement
Agreement”) through its use of the Golden Goddess, Cats, and DaVinci Diamonds trademarks.

For the reasons that follow, Plaintiffs motion for injunctive relief is GRANTED.
BACKGROUND

On December 26, 2017, Plaintiff filed a motion for a preliminary injunction based on
alleged violations of Section 9(e) and 9(f) of the Settlement Agreement. ECF No. 9. Defendant
filed a memorandum in opposition on January 16, 2018. ECF Nos. 33-35. This Court held a
hearing on January 17, 2018. The Court denied Plaintiffs motion for a preliminary injunction
based on the alleged violation of Section 9(e) and ordered supplemental briefing regarding the

9(f) allegations. See ECF No. 44.

Defendant filed its supplemental memorandum contesting the Section 9(f) allegations on
January 24, 2018. ECF Nos. 45-46. Plaintiff filed its supplemental memorandum on January 31,

2018. ECF Nos. 57-58. Plaintiff simultaneously filed a First Amended Complaint, alleging inter

 
Case 1:17-cv-09792-ALC-BCM Document 69 Filed 03/16/18 Page 2 of 5

alia breaches of Section 9(f) with regard to another game: Da Vinci Diamonds. ECF No. 56. On

February 13, 2018, this Court held a preliminary injunction hearing.

LEGAL STANDARD

In order to prevail on a motion for a preliminary injunction, a plaintiff must show (1)
likelihood of success on the merits; (2) irreparable injury in the absence of an injunction; (3) that
remedies available at law, such as monetary damages, are inadequate to compensate for that
injury; (4) that, considering the balance of hardships between the plaintiff and defendant, a
remedy in equity is warranted; and (5) that the public interest would not be disserved by a
preliminary injunction. Salinger v. Colting, 607 F.3d 68, 79-80 (2d Cir. 2010); see also eBay,

Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006).

DISCUSSION

As an initial matter, because Plaintiff's claims regarding DaVinci Diamonds are closely
related to its claims regarding Golden Goddess and Cats, this Court will also consider the
DaVinci Diamond claims. See Adair v. England, 193 F. Supp. 2d 196, 200 (D.D.C. 2002)
(“When the [preliminary injunction] motion is based on facts closely related to the facts in the

complaint . . . the court may have jurisdiction to review a motion for preliminary relief... .”).

J. Likelihood of Success on the Merits

First, Plaintiff has demonstrated a likelihood of success on the merits. Because the 2016
Settlement Agreement superseded all previous agreements, the trademarks at issue were likely
subject to Section 9(f). It is undisputed that Defendant did not submit a representative sample or
mock-up of its expected usage of the Golden Goddess, Cats, or DaVinci Diamonds trademarks to

Plaintiff as required under Section 9(f)(iii).

 
Case 1:17-cv-09792-ALC-BCM Document 69 Filed 03/16/18 Page 3 of 5

Further, Defendant has not shown that Plaintiff “knowingly, voluntarily and intentionally
abandoned” Section 9(f). See Kamco Supply Corp. v. On the Right Track, LLC, 149 A.D.3d 275,
280 (N.Y. 2nd Dep’t 2017) (quoting Fundamental Portfolio Advisors, Inc. v. Tocqueville Asset
Mgt., L.P., 7N.Y.3d 96 (N.Y. 2006)). A waiver “should not be lightly presumed” and ordinarily
“mere negligence, oversight, or thoughtlessness does not create a waiver.” Jd. (internal citations

omitted).

Accordingly, Plaintiff will likely succeed in its claim that Defendant violated Section
9(f).
II. Irreparable Harm

Second, Plaintiff has established irreparable harm. “To satisfy the irreparable harm
requirement, Plaintiff[] must demonstrate that absent a preliminary injunction they will suffer ‘an
injury that is neither remote nor speculative, but actual and imminent,’ and one that cannot be
remedied ‘if a court waits until the end of trial to resolve the harm.’” Grand River Entr. Six
Nations, Ltd. v. Pryor, 481 F.3d 60, 66 (2d Cir. 2007) (quoting Freedom Holdings, Inc. v.
Spitzer, 408 F.3d 112, 114 (2d Cir. 2005). Plaintiff has shown irreparable harm because the
“mere possibility that defendant[] could during the interval until trial depart from [Plaintiffs
quality standards] is sufficient to warrant the issuance of a preliminary injunction.” Church of
Scientology Intern. v. Elmira Mission of the Church of Scientology, 794 F.2d 38, 44 (2d Cir.
1986). Additionally, here “there is a threatened imminent loss that will be very difficult to
quantify at trial.” Tom Doherty Associates, Inc. v. Saban Entertainment, Inc., 60 F.3d 27, 38 (2d

Cir. 1995).

 
Case 1:17-cv-09792-ALC-BCM Document 69 Filed 03/16/18 Page 4of5

III. Adequacies of Remedies at Law

Third, Plaintiff has shown that remedies at law are inadequate. The “contractual
language declaring money damages inadequate in the event of a breach does not control the
question whether preliminary injunctive relief is appropriate.” Baker's Aid, a Div. of M.
Raubvogel Co., Inc. v. Hussmann Foodservice Co., 830 F.2d 13, 16 (2d Cir. 1987). However,
because — as discussed above — the loss to Plaintiff will be difficult to quantify at trial, remedies
at law cannot adequately compensate Plaintiff. See U.S. Polo Ass’n, Inc. v. PRL USA Holdings,

Inc., 800 F. Supp. 2d 515, 541 (S.D.N.Y. 2011).

IV. Balance of Hardships

The equities weigh in Plaintiffs favor. “The only possible harm to Defendant is the loss
of the chance to [promote an infringing game], but the law does not protect this type of
hardship.” Warner Bros. Entertainment Inc. v. RDR Books, 575 F. Supp. 2d 513, 553 (S.D.N.Y.

2008).

V. Public Interest

Finally, granting injunctive relief would not disserve the public interest as “the public has
an interest in not being deceived.” N.Y. City Triathalon, LLC v. NYC Triatholon Club, Inc., 704

F. Supp. 2d 305, 344 (S.D.N.Y. 2010).

Accordingly, Plaintiffs motion for injunctive relief is GRANTED.

 
Case 1:17-cv-09792-ALC-BCM Document 69 Filed 03/16/18 Page 5of5

$0 ORDERED. [Andro y Cap

Dated: March 16, 2018

 

New York, New York ANDREW L. CARTER, JR.

United States District Judge

 
